"The question as to whether or not there is sufficient corroboration of the testimony of an accomplice to produce conviction of a defendant's guilt is peculiarly one for the jury." Chapman v. State, 109 Ga. 165 (34 S.E. 369);  Sikes v. State, 105 Ga. 592 (3) (31 S.E. 567); *Page 79  Rawlins v. State, 124 Ga. 49 (52 S.E. 1). In the present case there was some evidence to corroborate the testimony of the accomplice tending to connect the accused with the crime charged. It was not error to overrule the motion for new trial based on the general grounds. (The above represents the views of the majority of the court. The views of the writer are expressed in a dissenting opinion.)
Judgment affirmed. All the Justices concur, except Atkinson and Head, JJ., who dissent. Bell, J., absent on account of illness.
William Cular Davis was jointly indicted with J. B. Beetles for the murder of C. B. Wike. The State elected to sever, and Beetles was tried first. On the trial of Davis, the jury returned a verdict of guilty without recommendation of mercy. The defendant *Page 80 
filed a motion for new trial on the general grounds, and the exception here is to the overruling of the motion.
The only direct evidence to connect the defendant with the murder of Wike was the testimony of J. B. Beetles. He testified: On January 16, 1948, Davis told him that he had to have some money to pay for some whisky, and suggested that they, "Go up there and knock old man Wike out." He told Davis that he did not want to do that. Davis told him that he could go to Wike's store and buy a package of cigarettes and while he was buying the cigarettes Davis could come in and knock Wike in the head. The witness did not say anything else. He decided he would get some cigarettes. He was not thinking about Davis carrying out his plan. He went to the store and Mrs. Gant was in there drinking a coca-cola. She finished her drink and left. He was talking to Mr. Wike and asked him for some cigarettes. Wike went behind the counter to get the cigarettes, then came back to his desk and sat down in his chair with his back to the door. The witness gave him a quarter, and as Wike was giving him his change, he saw Davis coming in the door. Davis hit Wike with a stick, and Wike leaned forward in his chair. The witness reached down to pick up Wike's hat and drops of blood dripped off of Wike's head onto his right coat sleeve. Davis hit Wike again, and said, "I got him now." Davis took Wike's key to his desk from his pocket and opened the front drawer and removed from it a folded pocketbook and stuck it in his pocket. Davis then set fire to the store and the witness ran out. Davis went back toward his house through the pines back from Wike's house. After the witness returned to his home, his mother noticed the smoke from Wike's store. While his mother had gone to investigate the fire, Davis came to the witness's house. The witness's mother returned and reported that the fire was at Wike's store. The witness and Davis went by the store and then went to Davis's home. Davis went into the room where his wife was and pulled out the long folder pocketbook. It looked like it had about fifteen dollars in it. He handed it to her and told her to put it under her head. He reached in his pocket and pulled out three silver dollars. He had about four half dollars. She put these in the pocketbook. In about twenty minutes investigating *Page 81 
officers took the witness into custody, and he told them about Davis hitting Mr. Wike with the stick. Davis and the witness are brothers-in-law. Davis first mentioned robbing Mr. Wike a week or two before the robbery. Mr. Wike was an old man about seventy-five years old. The woods come all the way from the back of Davis's house to Mr. Wike's store. It was between eleven and twelve o'clock when Davis and the witness left Davis's house to rob Mr. Wike. The witness saw Davis pay Jack Williams twenty dollars for whisky after the robbery. Davis had agreed to give the witness half of the money obtained in the robbery, but he did not give it to him.
Beatrice Chism testified: She was at Davis's home on the day Mr. Wike's store was burned. She saw Davis and Beetles standing out in the yard talking before the store was burned, about eleven or eleven thirty o'clock. She saw Davis leave the house and go down the path that leads to the woods which extend up to Mr. Wike's store. He was gone about thirty minutes. She saw the smoke from the store a short time, possibly twenty-five minutes, after Davis came back.
Benny Geter testified: He was at Davis's home the day Mr. Wike's store burned. He left there about ten o'clock. He saw Davis and Beetles there. Beetles suggested to the witness that they rob Mr. Wike. That was about eight o'clock that morning. Davis came in there about ten o'clock. Beetles and Davis were standing at the corner of the house talking when he left.
Mrs. Estelle Gant testified: She was at Wike's store and saw Beetles there. Wike asked him what he could do for him, and Beetles replied, "Not anything right now." He was there when she left. Her husband saw the smoke from the store about thirty or forty minutes after she got back home. She lived about a mile and a quarter from the store, and walked home.
Henry Gant testified that he discovered the fire that destroyed Mr. Wike's store about twelve-thirty o'clock.
Jack Williams testified: Davis paid him twenty dollars on the afternoon of January 16, the day the store burned. He paid him in fourteen one dollar bills, a five-dollar bill, a half-dollar in silver, and three quarters. Witness was in the whisky business and Davis paid him the money for whisky. He let him have *Page 82 
the whisky on January 3, and Davis said that he would pay him on the 16th. Davis stated that he had sold some liquor to some people who would pay him on that date. In reply to questions inquiring if the witness had seen Davis with money on the day before the robbery, the witness testified: "I couldn't swear what day it was. He said he had some money but I don't know whether he did or not. That was the day we come to Carrollton he had that money. I don't know what day that was. It was a day or two before the 16th."
Otis King testified: He found three silver dollars in the home of Davis, in a box of face powder, in the radio. On the day of the fire, after Beetles made his confession, the witness talked with Davis and asked him if he had any money in the house, and he said there was not any. It was a day or two later that he found the money. Davis said that Beetles paid it for some liquor. Davis told him about the money he paid Jack Williams, and related the persons that he had sold liquor to, and the amounts received from them, which amounts Davis claimed were paid to Jack Williams.
The defendant in his statement denied any connection with the robbery and murder of Mr. Wike. He claimed that Beetles had paid him the three dollars found in his home for liquor, that he did not want to take the money, but Beetles threw it on the dresser, and he put it in the back of the radio.
The State introduced several witnesses in rebuttal, who testified that they did not buy liquor from the defendant and pay therefor on the date Mr. Wike's store burned, and Beetles, recalled, testified that he did not pay Davis the three silver dollars for liquor.